EXHIBIT Z
Woo Ul AA spealesel S14BuU {iy “OTT ‘sajpodosd vIpaW W'Ty PLoZ uGUAdoD
295-042-868

*ponlesau SqyBU tty “OTT 'sevadeud EPO TW @ INeLAdeD

 

“suuy Jsable} OSE S,UOHEU ayy JO Eg] 40) Sayer BARY OM ‘PLOT 104 “SP10da, dY1qnd Woy PeAuap Eyep aye) juawajddns oj age osam om Saseo AUB
Uy ‘Aposuip {Vy 0} seyer sey] Pods: JOU pIp Jey} SUNY Joy “seYE}OSSE pue siauUed Jo} sayes Buyjiq AUNOY Jo eBued e aptaoid o} (.0SE PIN.SU)) SUL Me] saGue] OSE S,UOHeU aL] O} Jno PeyoRs: ‘}eWNOT meq /eUCNEN oy, WIM UOHeloosse UI ‘gousby oyu) (e687 WIV

 

 

 

 

Jeuinop meq [euOHeN 2kCBa}e5
JRWWNOP MET /eUOHeN:e92NS

Asaing Buia FIN PLOz

peaaen cep Tey oyy IDueML Boop

SONSEUT ALN
swan ATW
WO" WE AAA . . L

L79S-02-888

“peareses SGy (I “977 ‘senuedoud eIpayy Wy pLoz suBuAdoD

 

yoda: og¢e

CIN PLOZ 94} Ul pajsy se
BoWo 'S'N jsaGse] s,wwy
84} 30 Alo ayy pue LUI

~ aypye skausoye (314)

quayeanbe awi4in4

PLOZ Jaquiacag
‘yeunop me7 jeuonen

oo'sres

oc oces

oo's6z$

o0'00r$

joo'oces

o0'o9rs

v6L

tN

saUulaag 9 JOYDIy'

Loc

 

yoda age

PIN 7102 84} Ul paysi| se
BaIYO “Sf JseBuE| S,LUsy:
ayy Jo AYO ayy pue Wy
ayy ye sXousope (314)

pL0z Jaquiacaq
‘rewnor me euoneN

G0°029$

oo'sezs

CO'C601$

oc"o6s$

OO'SPZ$

00'0601$

Zee

['preyuoppeHt

XL ‘uosnoy}

4Lny SMelpuy

VLOd

 

 

CIN PL02 94) Ut payst se
Bayo *S'r ysaGsey s,wuy!
yp JO Ayo eu} pue UL
Sup ye sKouoye (514)
quajeainbe swing

7L0z Jaquiacaq
‘jeuinop meq [euonen

00'Str$

oo'oszs.

00'SZS$

00°S29$

QO'Ss6r$

00'SZ8$

682

VO ‘eueny

Pilg '3 UOIS}y

¥L0Z

 

yoda: age

CIN PEOZ au} U paysi se
SdIyO “S77 sabe] S,WUy
ay} yo Ayo aly pue ULI
ayy ye sKawioye (4.4)
quajeajnbs auun-iny

bL0g Jequisceg

‘fewnor Mey |BUOIEN

00's+9$

oo's7s$

0o0"'089$

VO
‘gajaBuy $07

sisyen 9 Loew

ayqureg 499" SUPE UaTIY

vL0%

 

oder ase

MIN 7bOz 843 Ul palsy se
BHO “Sf sae] SW
ayy 40 Ayo uy pue Wy
ayy ye skswope (FL)
quejeainba swing

pLoz Jequiacsq
‘reuinor Me) |BUOTEN,

oo'szs$

oo'sges

oc‘ose$

00'seZ$

oa'sEo$

00'0z21$

608

od
‘uojBulyseny

pied 8
Jeney ssnejg dwn upy:

bloc

 

yoda: o¢e

CIN VLOZ 4) UL paysy[ se
8OIYO “S'f) so@bue) S,LUUy!
84} 40 Ayo au} pue Lud
ayy ye showoye (414)
qugjeainbe au

 

0d Joquisoag
‘jewnor me] (euoneNn

oo'sos$

00'S0es

oo'sor$

oo'sess |

ag-oges

oo'ose$

€eS

Jy wei,

UEBWayY:

hoz.

 

 

podas ose

CIN 71.02 84) Ut pajsy se
BIO "Sf Jsabiey suwy
ayy Jo Ayo a4} pue wy
ey ye skawope (314)

 

 

?L0z Jaquiaseq
‘yeunor me jevonen,

 

00's2c$

 

oo'szrs

 

oG'00s$

 

00'02z7$

 

 

 

00'S Les

ov'ozrs

 

 

loo'socs_

too‘00z$

  

 

 

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asaay pues swepy

 

 

 
wre | ‘ % sposuasad SyyBL [ly "O77 ‘setuedoid etpay Woy FL0z 3uBuAdog |
L¥9S-022-888 /

 

uodal ose

CIN PLOe 84} Ul pas] se
BOO “S'f ysaduey swuy
au} Jo Ayo ay) pue wy:
ayy ye skousone (414) vLoz Jaquisceq)| | Aimoyleg 8 [eMpIeED
‘jewnor mez jeuoyen : oo's6e$ oo'spzs looser jooroors —stovroves joorseps lags NL ‘siydweyy! ‘ueueag ‘uosjauog ‘“axea|pt0z

t

 

 

CON PL0z 8u} UY) palsi| se
BJO *S'f Isabue| sw!
2} JO Ayo ayy pue Luly
ayy ye shawoye (514) yloz Jaquieseq
quajeainbe ewiy-|n4] ‘leunor me jeuouen oo's6e$ G0'001$ joo'sz6s 00'ss2$ loo’0gz$ = |OO'DEL LS ~—sizadr qWobea4yD BIZUEMIW 8 Jexeg | y}0Z
poder ose
PIN PLOz Su} ul paysy se
Boujo “S'f sabe] s,wuy
3yy 40 Alo ey; pue Way
ayy ye sheusope (314) rb0z Jequieseq HO
qugjeainba awy-ying} ‘jeunor Mey yeuoyeN 00 z22$ 00'0L2$ loo'oses ‘00'6rr$ ooszz$ _|ao'oz9$ 862 ‘puejerdio Jaj}9}S0H § 494ea | pL0z
vodar ose
MIN #102 uy U pajsy se
BIO "S'f) sabre] SWI:
uy Jo Ato ayy pue uy
ayy ye sAawoye (3.14) PvlLOg Jequieseq
queyeainbe aun; ‘jeunor MejjeucyeN, | : oo'osz$ 00'SZL$ |oo'oge$ co'sors oo'ages —_joo'sec$ veh FW oBea1yo 1ya1 8 UaIsWY}pL0Z
yoda ose
PIN PLOg 24} Uy pels!) se
Bayo "S'7) ysabse| S$, Uuy:
SU} Jo Ald oy) pue Wy : , , .
ey} ye sAousoye (314) loz sequueoeq . oq
qugyeanbs awn) ‘Jewnor meq jeuoneN 00'00S$ OO'SPs$ j00°0L9$ Oo's} 8s oo'0z9$ — joooses Oz ‘uojBurysen |. JeyOd FB PIOUY} yLOZ
podal oge. . :
PIN FL0Z 24) Ul pays se
BONO *S'f Jsabiel sul!
ayy Jo Ayo ouj pure Wy
ay} ye sheusope (QL4)| - pLoz Jaqueceq : : : : 1
qusjeainba awning! ‘[ewinor me jevoyen a0'06r$ oo'osrs —_jon'azs$ Ov vo ‘eeny AKrofiaig uapjoy jeusy|710Z
pode: ose :
CIN $102 84; Ul! peysy se , . . -
BOO “S'f yseGue] s,uUy .
ayy jo Ayo ayy pue wy
ayy ye showloye (3.4) ¥t0Z Jaquieaag|: - oa
jugyeainba auy-ying) ‘weunop Me] JeuoWeN]| ao's6e$ 00'S22$ joo's6ss oo'osgs joo"coss —_ ;00"098s oes *UOJSULYSEAA: XOg Waly pL0z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Woo"wlesAMm £ *peAlesal SWUBL [Fy “OTT ‘satedoid EIPEW Wy pb0z WBUAdOD
Lp9S-042-888 -

 

yoda og¢
PIN 707 24} Ul pajsi se
solo “S*fh jsabue| s,uuy

 

 

Oy} Jo AYO Oy} pue Wy , :
ayy ye sKawoye (3.13) blog Jaquiasagq AN
quajeainba ours ‘yeusnor me] jeuoneN j00’ssP$ eo'szz$ oo'oges oo'szes oo'ostS joo'ares —-foo’sge$ coores — foo'ozss S6L ‘esnoekg; Bury 9 yoauaoyag ‘puog/ptoz
podss OgE

(IN PLOz Sy} UI pays! se
Bayo “S't 3saH Ie] SW
ayy jo Ayo ayy pue UY
ayy ye sKawone (314) PLOz Jequiasaq Vd
quajeainba on nj] ‘yeuunor Me] jeuoyeN oo'oses 00'S2. L$ |oo’s9s$ oo'or9s OO'Srr$ — j00'OrES dvy *elydjapeyid ouroy 4ue}a |pL02
poder ose

PIN 7102 eu) Ul pajsi se
solo "Ss" jsabiej sw
Syy Jo AYO 84) pUe WHY

 

 

 

ayy ye skewope (314) ri0z Jaquieseq
quajeainbe eur ‘jewnor Me] jBuOHeN oo'oSsrs oo'set$|oo'sos$ —_—jaosezs —sfoa'ozz$ = joo'oeol$ sez VIN ‘uoysog uayongow weYysuie|y10z
pode Ose " :

MIN #402 24} U! pajsi| se
a21Yo “g'f) JseBiE] SU

 

yy 40 AYO SY} PUB UY
ayy ye sKawoye (314) yLOz Joquiaaeg i wo
quagjeainba outing ‘yeusnor Me" |BUOlEN|a0"S6g$ oo'ores egecr$ ao‘oee$ oo'sez$ joo'sees Oo'ssrs ooroves joo'ssos faut ‘apisionly saBouy 9 189 1890 7107
yoda: oge - =

CIN 7LOZ 24} Ul pajsij se
BIO “Sf SoHE} Sw

 

94} Jo Ayo ayy pue Wy, . . .
ayy ye sKawoye (S14) yL07 Jequieceq , HO youoly 9 uejdog
quayeainbe eu-yna! ‘jewinor meq jeuojeN, 0008s OO0'SSL$ |00°'S2b$ co'sse$ oases — |00'SE9$ Ost *pUEjana|g ‘sapuelpall ‘Y>saueg|pL07
podar gel”

FIN ¥L02 94} Ul pa}st| se
BIYO "S"f sabe] Sw
24} 40 Ao ay} pure WY.
ayy ye sXawoye (314) y10z kequiecaq : a NI .
yuajeainba a [ns] ‘lewnor meq jeuojen oo'ozes joo'ogzs joo'ozes$ —_—-: |oo'agrs oo'oses §— {00 08S$ 2S ‘syodeueipuy] ~ BinquioyL ¥ seuseg}p}.0z
yodai ose

PIN PL0z ey; Ut pajsi| se
Boo “S°T Jsabie] sw
ayy jo Ayo ayy pure WL
ayy ye shawoye (34) pl0z Jaquiaseg Wd
quajeainba sung] ‘enor me] {euoyeN O0°stes 00'Ssezs joO'S6rs 00°SLPS oo'segs — jooose$ 4 ‘erydjapellyd : tyedg pueyieg |y}.0z,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
wor" Wyje "AAA . : v . “peatasal SyyBy [Ty ‘O77 ‘samadoud elpay WI LOZ susAdoS
4¥9S-022-888 .

 

yodel ose
CIN 7+02 84} Ul Paysi| Se
BoUJ0 “S°p ysaGsey SU

 

84} Jo Ayo ey pue tut) :
ayy ye sfewoye (33) Plog sequiesaq : ow
jugjeainbe sulin] ‘}ewinor ane] [euogeN|O0'SO8s. 00°Sge$ ao'segs 00'Sors oo'oze$|oo'ses$ = (o0'0z9$ Oo'aLr$ — [a0"006$ (s86 ‘sino 1s aaeg uel! 710%
wodes OSE

FIN 7102 84} Ul Po}si SE
Bayo ‘g'7) ysabue) s,wuy: .

 

ayy 40 Ayo ayy pue Uuy .
ayy ye skausoye (314) PpLoz Jaquiacagq . yaeuyog
Juajeainbs euy-yna| ‘Teunor meq jeuoyen oo'soes 00'S9z$ j0O'Sres oo'oes$ Oo'Ores —_ |a0°002$ Phe OO NeAueg) —seqse4 WeAY UlaSUMOIE /pLOZ
voder'oge ° : °

TIN PLOZ Ou} Ut paysi] se
BdIPLo *S"f] sobre] SUL
uy) so Ayo uy pue Wuy

 

ou} ye sKausoye (31-1) pLOz Joquisoeg
quayeainbs awi}4ing| ‘lewnor Me] jeuopen oo'9ses co'osss §joo'srols =| zeb VIN ‘uo}sog yoqupny UMolg |p L0z
yodal Oge

TIN F102 34} Ul pays! se
solyo “S'f Isefle sway

 

‘2u} JO Allo ayy pue Wuls
@yy ye skousoye (314) yloz Jequaceq
yuoyeainba auy-jn4} ‘feunor Me] [eUuaeN oo‘oges OO'Sséz$ —00'S9KS OS} Tt ‘opueto fasseD pue peoldipidc
pode! ose :

PIN LOZ OU) Ut peysi| se
S010 “S'7 JsaBie] S,Uuy

 

By} Jo Ao ayy pue WU : . .
auy ye sAausoye (314) pL0z Jequiaceq ‘ Wi. sBujwung
qugjeainba swif-||ngf ‘Weusnor meq jeuoyeN oo'ogz$ 00'00z@$ ja0‘ores cooers oo'sze$ — loo's09$ ele ‘weyBuluuie WNog yueuy Ae[pesgy.0z
yoda! oge

PIN FLOZ OUR U} palsy se
B10 “S'n jsabiey su

 

By} Jo Alo ayy pue Wty '
ayy ye sKeuoye (314) b$0z Joquissag : : ; : :
quajeainba owiy-|n4|  ‘jewnop Mey /euoneN 00'orrs 00'S£z$ joo'00z$ —_- j00;0Qz$ oo'szs$ §foo'szbb$ tb X21 ‘voysnoy} fueyn|> 9 hemede1g |pLOZ
yoda ose ;

FIN PL0z 84} Uj pajsi| Se
S010 “g"f) sabre] s,wuy 4 . :
OU} JO AYO ayy pue Wy : -
euy ye skouloye (3.14) pbOz Jaquisoeq . AN
quajeainbe augp|ing) "ewinor meq] [euCVeN oO'seL$ Costs loo'osts ——- joc'cez$s Co'sols — joo’sezs OvE ‘uoyseieug aor Sajmog|p10z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
woo'wjeAMA : 5 “peaiasal spyBU [Ny “O77 ‘sojedoud wipay Woy pboz 3uBLAdog
295-012-288 ,

 

yoda OSE
CIN PLOZ 2u} UI paysi| se .
Bayo “Sf sable] Sw : . aft

 

ay Jo Ayo ayy pue wut :
ayy ye shauaye (314) = pLOz saquissag : tN
Jugjeanbe own} ‘jewnor meq jeuoneN ao'soz$ oooozsloo'szes ——sfoo'sers coszz$ joo'szs$ sez. ‘puejasoy Aajo4 WRUUOD|p10z
yodal ge

PIN PLO? 84} Ut pays] se
a01o "S*n yeBue| sw

 

uy Jo AYO ay} PUR WY, , : .
ayy re skawoye (214) PL0z Jaquiacag tN pieuos] 9 UEWIOS
qugjeainbe awiy-|n4] ‘Tewinor meq [euoyeN oo'coes 00'S22$.|00'Oves oo"'eso$ oooss$ jag oes Bb ‘yoesueyoey ‘S19 ‘Aouys ‘109/107
podes OSE

PIN PLOe 94} Uy pays! se
BOYJo "S77 ysaGve] S,uUy

 

94} Jo Ayo ayy pure WHY
our le skouroye (31-1) bL0z Jequieosq : .
ugyeainds ew-in4y] ‘Jewnor meq jeuoyeN 00°009$ joo'ssr$ == joo'oret cle qd ‘edwe) SP[el4 UOWLED | 7107
podar ose)"

PON 102 2U} Ul peysit se
aoIyo “S'7) seBse} Suu

 

eyt Jo Ayo ayy pue WH .
ayy ye sKowope (314) ploz saquiaseq AN RL
yusjeainbs eun-in4} ‘feuinor me> [euoWeEN : 00's09$ oo'sé¢e$ 100'0S2$ oo"oe6$ co‘ooss — jaoasoL$ = |zer SHO, MON} WeysuexoIAA “APE[EMPD | y1.0Z
yoda ose

PIN pLOZ ay) Wy paisi| se ‘ ‘
BoIyJo *S'f) JseBuE] s,WUYy!

 

ey} fo Ayo ayy pus Wy :
ayy ye sXawoye (44) vlog saquisoag : SW
quajeainbs auy-n4} ‘yewinor seq jevonen oo'zoe$ ao'sez$ joosees t0sz ‘puejeSpry Mous Jann PhO
yoda: ose :

PIN $L02 Ou) Ul payst] se
aoipo “Sf Wsebre} s,uuy
34} Jo Ayd-ay) pue WHY
ay ye sAawoye (314) Pploz Jequiacag . : : W .
quajeainbe auyyjing) ‘yeuinor meq jeuoyeN OO" Les 00'00z$ j00°SZz$ Oo" ze$ oo'o0e$ == loo'szss LEA ‘weyBurwwig ueuwwos 8 4nd 7107
podar ose . ; °
PIN PLOz 4} Ul palsy se
ado “S*7) jsaBie] Swi
Sy JO AIO Oy} pue Wy
ayy ye shausoye (314) PplLOz Jequiessq . vO
queyeainbe ouy-n4} ‘feunor me jeuciyen oo'sges oo'0ses jo0'sZes 0"s09$ oo’szv$ — j00's69$ BEL ‘sajaBuy 07 swan JSyHeUMNE! PLOT

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Woo Ue a . 9 ‘paniesar SquBy [ty “OTT ‘sansedoud mipaw Woy Plog 1Buddoa
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pode: OSE
CIN PLO? Oy} Ut Pasi] se
S010 “gf ysaGle] su

 

9yy Jo Ayo ay} pue wu
eyy ye skewoye (3.14) pbL0¢ Jequieseq : AN
quayeainba aluj-ny] ‘jeuinor meq yeuoieN 00'06r$ 00'0ZL$ 100092 ao'ssolrg oo'ss6$ §i00°S40L$ ices ‘JO, MON uojduid 9 asioaaqed |p10z
: yoda: age

TIN PL0Z 84} Ul paysi] se
BJO “S"f) ysaHue] sw

 

Syy 40 Ayo oy) pue Wy
auyye shawoye (3.4) Plog Jequieaceq . AN
quejeainbe aun] ‘Jeuinor meq |euoHEN : Co’st9$ —._—sfooroe L$ joo'sze$ 00'S 26$ loo‘oses —_ joo'sees ore HOA MON HOMPIEAA 8 410d SIAEG|PLOz
poder ose . :

PIN #4L0Z 24} Ul pays] se
Bayo ‘g*p) Jsabiel s,way
ayy jo Aus 94} pue LAY)

 

ay) ye skowoye (3) 4) phOz Jaquiesaq
jugjeainbs own! ‘yeuner ae euoeN| joo'sszs oo'oozs joo'oses —— [cose rs oo'stes § joo'seot [Se OO ‘Yeaueg}] — saams 7 weYesD SIAC |p10Z -
yoda os

TIN #102 84} Ul pajsi] se
@dIPO “S‘f JsaGse] SW!

 

24} JO Ao sy) pue Wy), .
ayy ye skouoye (21-1) poz Jequassq AN SISOIN 8
jugjennbe ewy-in4| ‘lewnor me [euoyen . oo'osr$ oo'ses joo’sezs —_—fao’oogs oooszt loooges _—eze ‘MOA MON] HOD WSOAed-FAHEW ‘SIUND!y LOZ
pode: ose :

MIN PLOZ 84} Ul pays se
aaIYO “S'r ysaBye] S,wuly

 

Oy) Jo Ayo 4} PUE WI
ayy je skowsoye (2.14) poz Jequesaq vd
juejeninbe awning] ‘fewnor me7 [eUONeN ao'sses ooroersloorores _foorozs¢ _loo'szz¢__foo'seuus__|eer ‘eiydiapeliue Jouu09,9 u2z09|p402
yoda og. . :

TIN PL0% 543 Ui pays]! se
Bd1JO “9° ISeHie] SW
@yp 40 Ayo ayy pue Wy

 

ayy ye sXewoye (314) plOz Jequiessq 3a : :
quajeainbe sulin} ‘Jewnor meq jeuoneN 00'S rs ooozes joo'sgs$ = - |oo'ogZ$ cg’sogs —_ lo0'068$ 092 ‘uoj6ulysenn Bulang 9g uoxBulAod py oz
yoda: ose

CIN PLO? Sy) Ul Peyst Se
adlyo °S'f jsabiey sway
8y} Jo-Ayo ey) pue LUI
ayy ye shawoye (444) plOg Jaquiacsgq
quajeanba auilj-{nj} ‘yewinor meq jevonen oo'siss Oo'see$ 100'OPS$ oo'oces joooges §—_jao’eses eL9 YO ‘Oly ed Aa]009 jy L0z,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Woo"LUje "MAM . z "paniasad syUBy |Iy “OTT ‘satuadoud eIPEW WIV Pboz uBYAdOS
279-022-888 ,

 

yoder 0S¢'
CAN L0z ey} UY peysy se
e010 “S°f) IsaBse} SLU,
34} Jo Ayo ayy pue Way
ou; ye sKoutone (314) ylOZ iaquiaceq) Vd
quayeainbs own] ‘yeunor meq jeuoyeN|O0'SLOL$ oo'osrs ao"se9$ oo'ezes oo'0ges joo'ses$ oo'6es$ oo'str$ _jo0'og6$ €49 Serydjopeyud SLOW BUEN! p10Z
pode oge . 1
MIN PLO? Oy} Ul pajsi| se
Bayo “S'fp] saGuey Suu,
ayy jo Ayo ey} pue Wy .
ey) ye skeusoye (313) yLOz Jaquiscag ‘ NW ,
quejeainbs awi-ing) yewnor meq feuoHEN oo'SsLe$ 00’s-2$ |oo"0rS$ oo'ser$ co'ores —_jao'sess Los ‘suodesuuly Aauyum 3 Aesioa| yt0z
pode ose . :
CIN Pb0z ou} Ul paysl| se
Bayo “S'N JsobueEy sw
yy Jo Allo ayy pue Wy
ay} ye shouoye (314) ploz soquiaseq AN /
juajeainbe owing] ‘yewnor ey [euoEN oo'oLs$ joo'osz$ joo‘osz$ —_—jaa’saz$ oo'osr$ §—joo'szors —_izaee ‘OA MAN Jadid VIdi7102
podai age :
FON PLOZ Su} Ut peysi} se :
BIO 'S'f ysebse] Sway
aut Jo Ayo ey) pue WL
ayy ye sAawoye (314) yL0z sequiaseq HO
quajeainbs ewy-nj| ‘yewsnor meT jeuoHeN|00'SL9$ o0'OS L$ oo'oges ao’sez$ 00'09L$ |ao’s9e$ 0O'LL PS loo'oses$ — ioooses$ Sty ‘neuujoulg IMOYS *g BIOWNSUIG | 7102
poder ose .
PIN ¥h0Z 84} Wy peysy se
BOO "S"f) JSEBse] SW
2u} Jo AYO 94} PUB Ly .
au} ye shaluoye (314) yL0z Jaquiesaq : od
juajeainbe auij-|ing} ‘yeunor meq jeuoHeN oo'szrs O0OLE$ jao’sess ao'osz$ oo'ogs$ —joo’oszis - ivgz ‘uoyGujysepn oadeys w2}S49!G| bL0z
pode ose
CIN PL0z Su} U! pays!| se
ad1/Jo “S'f) sebie] S,WUIy
Sy} Jo Ajo OY} pue Way
ayy ye shewoye (314) phoz Jaquieseq : AN /
quajeainbe awn) ‘Jewinor Mey JeuoNeEN ao'ser$ Oo'oLZ$ joo'se9$ —— joa’oozs oo'srEes . |CO'OSOL$ jens SHO, MON SUouad F107
Yodel ose : "
MIN PLOZ eu} ul peysi] se
BIO “S'f) sabre] Sway:
out Jo Ayo oy} pue Wily
ayy ye sKowoye (314) bhOz Jequieoag : AN
juayeainba swily-jnj] ‘yewnor meq jeuoyey oo'oes$ oo'see$ fao'sez$'—— {o0'a06s eo'oz9$ —loo'seols —S¥8 SYOA MON Heyr2eC pL0z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
WOO" W]e AAA : 8 — . “peaiasal SpyBH fly “OTT ‘setedoud elpayw Wy bLoz 1uBAdoD
Ly9S-022-888 ,

 

podal og¢e
PIN vboz au} ul paysy se : .
SdlNO “S'f) JSOGiE] SLU},

 

oy} 40 Ayo ay; pue Wu
aur ye shewoye (3.4) yLoz Jequiacag HO
quaeainbe awy-yn4j ‘lewnor meq jeuoneN |oO'OrS$ ooroses OO'LLbs oo'vezs {OO'OSES joo'sLes —— joo-zees co'ozz$ logo0ss ~—sve yeuujourg ppo] umoig 38044 |pL02
podad OSE , ,

CIN 702 Su} ul pajsi| se
soo *S‘f ysabve, sw! .
Syy 30 Ayo ey pue Wy .
ayy ye showoye (314)/ = = p.0z Jaquieseq : : . AN uosqover 9
jugjeainbs wy yin} ‘jeuinor meq jeuojeny oo'sess 00'SZe$ joc'ogZ$ Oo'O0OL$ = joo'oess$ = fOO'OOLIS == |OSr Suo, MEN [deals ‘sIseH Squeld ‘paliaiPLOz
pode Ose .

PIN PEOZ 4} Ul paisi] se ‘
Bayo *S"7) sobue] sw
ayy Jo Ayo uy pue wuly . :
ayy ye sAauoye (314) poz Jequiaseq Vd
quajeainba eulj-jing| ‘yeusnor Me™ [euOEN : oo'oLes -_{00°SPz$ joo'00S$ oo'cess joosee$ —[00'0S2$ bes ‘elydjapeyiud PILYISYIOY Xd |PLOc
pode: ose

CIN PLOZ Syy ul pays} se
solo “S7) sabre} s/w!

 

 

 

Sy} jo Ayo ey) pue Wy .
ayy ye sXausone (31-1) vL0z Jequisseq : .
joleainbe own-yn-t} ‘Teunop meq [eLONEN : oo'szes oooszsjoo'sses — j00'0Z9S ~—s agaes$ joo'szz$ tbe VIN ‘uojsog Beoy Aaj04 ipl 02
yoda OSe

CIN PEOZ Su} U! paysy se
Bo1yO *S'f yseHie] SLU:
uj Jo AO ay) pue WHI :
ayy ye showope (314) pLOz Jaquiasaq . . IM .
quefeainba euy-|n4} ‘Teusnor meq feuoyeNn oo'sees 00°01 Z$ j00'0Lr$ oa"009$ oo’sor$ —jag'ages 443) ‘SOyxneMIIIN daupsey 9 Aajo4}y102
yoda: ose
CIN 702 eu} Ul paysl| se
BOUJo “S°h Jsabue] Sway:
24} 30 Alo ou} pue Wy ,
ayy ye showoye (314) pLoz Jequiecaq . . : . NIN :
quajeainbs auij-tin4| ‘}euwinor meq yeuojen . a0'09z$ 00°0L L$ loo's Les 00'SSb$ oo'sses _ joo'osss 29 ‘sOdeouUl sjelueg saxeq 0189e4 71.0%
podal ose .
CIN 7L0z ou) ul paysy se , . ‘
Boo *S°7) JseGve] SW
yy} 30 Ayo eu} pue Waly
ayy ye shousoye (314) blog Jequiaseq ’
jueyeainba aus inj] ‘yewnor meq jevoyen : oo'szes oo'S¢z$ joo'sL Hs oo'ses$ oo'oLz$ = joo'sez$ «jor | VIN ‘Uojsog] Jewjed UeUIPIIA SPJeEMpZivL0z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
WOD "WIE AA, . 6 : "paasasas SIYBU IIy ‘D771 ‘setadosd eIpew Wy PFOz }YBLAdoD
Lb99-022-888 . ° .

 

podas ose
CIN 7L0z Ou} Ul pays} se
BILYO "Spy ysatue] SW : /

 

Gy} JO AND. Ou} pure WAL) : .
ayy ye sKawoye (313) voz Jaquaceq , AN ;
quajeainbe suns] ‘jeuinor me" jeuojen go'oses 00'S61$ |00°062$ oo'sees ao'ooss = |00"Sav$ eet “deysaysoy Aiowy ¥ 3S9199g J9WEH |p L0e
yodal ose : - i

CIN 7102 24} ul paysi| se
BIO "Sif jsahiey s,s}

 

ay} Jo Ayo ayy pue Wy
au ye sXauope (315) pbog Jaquisosq . | AN
qejeainbs auiy-in4| ‘fewnor me [euoReN |00'0Or$ oo'sZb$ 09° 28¢$ oo'oez$ 00°S21$ loo'sez$ co'eres oo's6e$_— |o0'00r$ 861 ‘sejSeyooy yorog SIMeH|p107
yoda: Ose

PIN 7L0z 24} Ul paysi| se
BdIJO “Sf Jsabre] S,wuly!
ayy 40 Ayo ayy pue UY
ayy ye skauoye (314) vhOz Jaquiessq : AN
quajeainbe awiy-ing| ‘fewnor me] |euoHeN 00°02 oo'szes |oo'ozs$ oo'eo2$ co'ses$ — |00'sg6s 0691 SHO, MON Gunes, Bsaquesig|y1oz
yoda: og¢ :
PIN YL0z Ou) Ul peysy| se
adKJo “"S'f) sabe] S,Wwuy
aly Jo Ayo eu) pue Wy
auy ye shousope (414) ploz sequeseq vO 1eyyNsuey
queyeainba oui ‘jeunor meq jeuoneN, a0'00s$ co's8z$ joo'szes oo'ozs oo'szes | |oo'sz¥s BL ‘oBaig ues Anos saay UOps0D|p,0Z *
yoda: gge| ~
PIN 7h0z 24} UI paysi| se
BOO "S"N ysaGse] S,wuy : .
ay} Jo Ayo ey) pue wy . :
aug ye sAowoye (3.14) . vL0z Jequisoaq , , , AN
quayeainbe our ‘yeuinor Mey (BUOHeN . .joo'06s$ 00°S21$ [oo 06s 00'086$ co'soz$ = |ao'oosts =v ‘Yo, man} seyoINsD 'g UUNG ‘YOsqID PLOT
pods: as¢ . os :
PIN +02 ou} UI pajsi| se
BOUsO “Sf Isabel sw
ayy Jo Ayo ayy pue wus
ayy ye skowoye (314) yloz Jequieseq . . : : :
jugjeainbe oon ‘jeunor meq |eUOReEN a0'0ge$ 00°S6z$ |00'SAbS oo'o9s$ oo'orr$- _joo'sges 40Z CN VEMAN suogdio|PL0e
podar os¢ a
PIN pL0g eu} ut palsii se
BOLO ‘S'f yseHIE| sw)
ou} jo Ayo ey} pue Wy
ayy ye skauioye (314) vLoz sequiaseq
juajeainbs ousj-ying| ‘jeunor meq jevoyeN oo'eoes 00°06Z$ joo oees oo'seo$ oo'oers — jao’szz¢ hz XL ‘seveq amas auuhyy e19pseg!y10z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Woo WIE MA oF : . ‘pentasal SqyBl [fy “O77 ‘satuadoid BIpeW WIV LOZ WEHAdOD

£>99-022-988

 

podai ose
PIN PLOZ 9y} Ut Parsi] se
Soyo "sn sabe] SU .
at} 40 Allo ayy pue uly :
aty ye skausoye (31-4) p10z Jaquiasaq . ow :
juajeainbe suing} ‘jewnor me jeuolyjen|oo’szos oo'ores o0’aL ys 00'Ssze$ 00°06+$ |o0‘orrs 00'6rh$ aoosz$ —_|ao’sezs ees ‘sino7 4S Hamyoesg YOSNH| PLO%

yoda ose . . .
PIN Pb0z 24) Ul pajsy se
soyfo “g°7) jseGuey s,wusy
84y 30 Ayo ayy pue Wy :

ayy ye skeusoye (314) yLOz Jaquiacaq . : AN ,
jugjeainbe ewiy-|in4| ‘fewnor¢ meq [BUOHeN oo'sso$ co'sges$|oo’sz9$ —son'aaes oo'szz$ _ jao'see$ Lge Suo, MeN] peau 's PreqanH SeyBNH| p10
: yodal OG¢ ot

PIN PLO% Sy} UI paysy se
BIO "S"7 sabe] SLY
au) Jo AyD ey) pue ULES .
ayy ye sfewoye (44) p02 Joquisssq . uyos pue
qugjeainbe suy-in4|  ‘jewinor meq jevonen : oo'ozzs ao'sozs joo'szz$ oo'o6e$ oo'osz$ —_100'09s$ bez IW ‘Wosjeg! AueMyos Je] UeWBIUOH pL 07
pods: ose
CIN PLOZ 24} Ut pa}sy se
aalyo "Sg" JsaBse} Sly
By} 40 Ayo oy) pue Wut :
ourye sfauope (314)) ~~ yb 0z Jequieoaq : oa
quayeainbo awn} ‘yeunor Me" [PUONEN |O0'OL6$ 00'0zr$ oo'szc$ oo'OvEs 00'0L2$ |oo'sess 00'sz9$ co'sss$ — joosgols lose ‘uoBulysenn quBruy 8 PUesOH p07
poday ose
PIN #102 24} Ul pejsi[ se
SOO “S'ft }seGJe] S,Wy
yy Jo Ad ey) pue WY
ayy ye skawoye (314) vb0z Jequieoaq] /
yuojeainba awy-|n4] ‘euinor meq jeuoneN loo'ses$ og'see$ oo" sge$ 0O'LLe$ O0'S24$loo'szr$ = joo’ zvrs oo'sos$ joo'szz$ &2y Q9 ‘seAUEG MEH B PURIIOH|PL0z
yoda! ose
PIN LOZ 24} Us paysy se
ado "S'f jsabey suUy
ayy yo Ayo ay} pue wy : : : .
ayy ye sKowoye (3.14) poz saquiaosq ‘ : oad
juajeanbs own-n4! 'eunor meq jeuoneN oo'sees oo'soz$ {o0'0001$ _—leLez ‘uosBulyseAn 119007 ueBOH | p107
yodss OSE .
PIN 710z 24} UL pays se
alo "S°f jsabiey s,Wuy
84) Jo Ald ayy pue Uy
uy ye skeusoye (314) vhOg Jequissaq : .
quayeainba auwy-ing]” ‘yewnor meq jeuoen 00'sor$ cooled fo0'ogs$ 00'029$ oo'osr$ joo'ozors — [eae x1 ‘sereg suoog pue SaudeHipLog

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
WOT WIE AMM, : tb *paaiasal Syy6u [fy “O17 ‘satiadosd wipaw Wy 102 jGyAdOD
2y9S-022-888 :

 

yoda OSE
PIN 740% SU} Ul palsi| se
Bayo “S°f ysaGue] Suu

 

Sy) J0 Alo ayy pue Wy
auy ye sAauoye (31.4) vlog Jaquissaq .
jugjeainbe aw in4} ‘jewnor meq jeuoWeN oo's9r$ oo'ose$ j00'0ss$ 00'SPZ$ loo’ses$ — |oo'szes vey yp obesyD 401g 'B JOUUaL PLO
yoda: Ose ; -

PIN PEO? OUF Ul Pols! se
soyso “S'fN IsaHie] su

 

out jo Ayo ayy pue Wu
auy ye showuoye (3 15)) PLOz Jequeseq wo HeYyssN
quareanbe awip-ng] ‘Jeusnor me [euoNeN 00°069$ joo'oss$ = fo0'sze$ isch ‘sajabuy sol] 2 Jang ‘staiuey ‘“sayer|p10z
podel.gge

PIN FLOZ OU} UL} paysi] se
dO *S'h Isebve] SwUy

 

au) 30 Ajo ayy pue wily
ayy ye sKauoye (314) vlog Jequesed
quayeainba aun] ‘yeulnor meq |euoyeN oo'sees o0'ssz$ joo'see$ 00'zz9$ oo'szs$ joo'szos:: lee XL ‘see Jayjeyy UOSyIeP | p07
Yoda OSE

CIN PLOZ 24} 4 pais! se
ado “S*f yabrey su

 

OY} J Ayo Oty] pue WL)
eyy ye sAauoye (3.14) bl0z equiesaq .vo
quseainba owy-nj{ ‘yewnor meq jevoljeN oo 06z$ oo'sZz$joo'stes ——[oo‘oges loo'oLe$ — [O0'OrrS ba ‘sajeGuy soqj ” sim] Uosyoe | pL 0z
poder ace :

CIN PLO? 84) Ul pays] se
dO “S'N Jsabie| $,wuy
ey} jo Alo ayy pue way
oy} ye sAawoye (314) ploz saquiaosg . i AM .
jueyeainbe atwy-|In4) ‘Jewnor me jeuoeN oo'ere$ oo'oozs|oo'stes ——_—lao’sves ooozzs loosess feat ‘uo}seHeUD Ajay Uosyoer |p} 0z
yoda ose
CIN 7L0Z Su} Wi paysy se
Solo "S'fA Jsabue| sy
ay} Jo Ayo ayy pue Way
au} ye showoye (314) PLoz 49quieceq | vO oo. .
juajeainbo suy-jna{” Jeunor Mey JevoeN oo'ses$ oo'sees loo‘oszt —joo'oses = fon’ooes =|co'sze$ ~—s igo ‘sajabuy so7 enauew 8 H241/¥0Z
pode ose :
PAN PLO Su} Ul palsy se . . ‘
Boo "S'N Jsabuel sway

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ayy 40 Allo ay} pue wy
auy ye sAousoye (314) PLoz soquaceg . oan
juajeainbe awy-n4} ‘yeunor Mey] [EvOIIEN . 00'02z$ ao'Shes [00'SOes ooosrs oo'see$ — joo'oes$ L6z

 

 

 

APNEA S917 LOZ
Lv9S-0L2-888 .

 

podas ose
TIN PLOZ 34) Uf paysi] se
BONO *S'7 JsaBue] S,LUy

BY} JO Alo ay} PUB WL ;
ayy ye skewoye (314) PLOg Jaquisseq uopisorg|
jugjeainbe swy-ina| ‘yeuinor meq [euoeNn oo'sees 00'S |00's2¢$ ao'oss$ oo'oor$ = [00'S ZZ boss | vo ‘ejueny) = B puesuMOL youyedit|pL0z

 

 

pode ose
MIN PLOZ% 84} Ul pajsi| se
Soyo "Sf 1seHE] S,uUy

 

ayy Jo Ayo ou) pue Wy : : : .
aur ye sKouzope (41+) PL0z Jequiesaq AN
Jua|eAnbs aun) ‘fewnor ae jeuoreN Oocers oo'soss |oo'coss _—loorores __—jao'ser$ _loo'sies _ieez “HOA MON uanem 8 ofiq Kallen yL02
yodal 0g¢ "

MIN 702 84) Ul palsy] se
BONO *S"f Jsofue] S,wuuy)

 

ay jo Ayo ay) pue Lusty :
ayy ye sKawoye (315) vloz Joquiessq AN
quajeainbs swing] ‘Jeune we] feuoyeN o0'26S$ oo'oze$ loo'sez$ oo'09es co'sez$ —00'0SZIS zee SHOA MaN sajoyag akeyl|y10z
pode: OS .

CIN P02 Su} Ul paysi| se
solyo “Sf yseBue} sun
Su} JO AO au} pue WY

 

ayy ye sAawope (314) Pog Jequisoeq a ‘ :
jugjeainbe stuy-ing| ‘yeuinor meq jeuoyen oo'ssrs O0'OrEes |00'SES$ 00'SL9$ oo'oos$ — ja0'srz$ Zb9 WioGeayo) wewmussoy uyonw UaHeyipyLOz
pode! Ose :

CIN PLO2 Au) U pajsy se
Soyo "S'f jsaGse; s,uuy

 

ayy Jo Ayo ayy pue wy : : . . .
ayy ye sAousoye (314) PplLoz Jequiassg AN UBUUIpAals4 By
jugjeainba awy-yin4| ‘jewnor meq feuoyeN oO'ores 00'00z$ }o0'Sszos oo'sees oo'oos$ —|ao'séLIs = eze HOA MEN] S2dJOL ‘uosUag ‘ZIMOSeY | yL07
yodal 0S

CIN #L0z 34} Ul! paysy se
B0IYO “S"f JsaGuE| Stun
ay} Jo Ayo ay) pue WY
ayy} skausoye (313)] . vlog sequieceg . ——
Wererinbe organ _teuinor wen erenen : 00'sze$ 00°00z$ 100'orZ$ oo'sges oo’séz$ — (00'Szr$ g9€ MON IONE SUC) pL07
podai ase , |

CIN PLOZ 24} Ul paysi| se
SdIHO “S"T sabre] s,LUUy
Oy} Jo Ayo ay} pUE Wy : | |
aut ye skeusoye (31-1) plo Jaquieseq | ,
jugjeatnba aun} ‘yewnor meq jeuonen oo'ser$ o0'g0z$ loo'szz$ co'spz$ cosprs  loo'szes yore sox we fen sevorlyioe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
L79S-022-888 ’ .

 

podar age
CIN #102 84} Ul paysy se
BOUJO "S°F JSOGuEY S,LULLY
Oy} 40 Ayo oy) PUB WAH
au) ye sAawoye (313) ploz Jaquiaseq . . : ow
juajeainba aun] yewnor me7 jeuoyeN oo'osz$ oo's6+$ joo'szes ooozr$ —— joosezs —foo'cozs —stcaz ‘AID sesuey| abeg 9 dope ty 10z
pode ose
PIN #102 84} U! pays] se
BO “ST Isabhe] sw:
24] JO Ayo ayy pue WY
aypye skewoye (314) phOz Jaquiessq . AN
jugjeainba ewiy-|n4] ‘Jewnor ae] jeuonen oo'sog$ 00'sgr$ [00'szz$ aoa66s oo's68$ —|OO'OLLLS loan SOA MON SUPRA 8 WEYL Ti p}LO7
podai ase .
MIN PLOz Su} UL pajst} se
sao “Sf sabre] sty!
yy Jo Ayo uy pure WY
ayy ye shauope (314) Plog Jaquaceq
juayeainba swi}-|In4] ‘jewnor we peuoljen}og'osgs oo'ooes COALS oO’ Lees o0'a9z$ |o0’szrs a0°9LS$ lag’sze$ — j00'sZ9$ OLL Yvan ‘ee3ss [@MOd UETPL0Z
yoda ose :
MN 102 9u} UI paysi| se .
BOO “S"fF ysaHue] s,wuy: :
uy JO AUD ayy pue Lusy .
uy ye skewoye (314) vlog Jequiassq AN jauess
quayeninbs. suing] ‘fewwnor Mey euoNeN : 00'S29$ G0'SLS$ |o0'SLe$ o0'bz6$ oo'sr2$ loc’oolrs Jere MOA MON] "8 SIIEHEN UIAe] JeweIy | PLO7
pode ase . :
PIN #L0z 84) ul paysy| se
SBodyWJo *S*p] saGve] s,uuy
uy Jo Aya au) pus wy
ay) ye sAawoye (414) Loz Jequeceq : / Jeag
quaeainbe awhjn4} ‘fewnor me" jeuolen oo'oge$ oo'soes |oo'ssr$ joo'szs$ CoOsrs -ooOLEs —fo9z {WO ‘SUAN] "RB UOSIO SuUaPEW eqqgouy!p}0z
yoda: ose : .
CIN LOZ Ou} Ul Parsi se
ado *S‘f sabe] S.WY
uy Jo Ayo eu) pUE WEY
ayy ye skewoye (314) yLOz Jequiassq : , .
quaeainba swing} ‘Jeuinor meq [euolyeN : : 00"OrS$ 0o'Sez$ JOOS b2$ oo'sze$ oo‘osss §loo'saes sips. q obequ9, SIA 8 PUEPHIY | yL0Z
podar ose
MIN pL0z OU} Ul pelsi{ se
soo *S'f sable] sw
8} JO Ayo 84) pue Wy
ayy ye skauoye (314) blog Jequieseq .
quayeainba auy-yn4] ‘}ewinor meq jeuoyeN Q0'09r$ co'sz}$ joo'seZ$ O0'S22$ cosps$ jooses$ —s ez yo ‘eueny ‘ Buipjeds »g Burj y10z

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
wos‘Wje-wAM vt : tpeAlasel SUB [ty “O77 ‘semedoud ejpaw Wiv Pboz TuBUAdoD
Zy9S-0L2-808 ,

 

"Poder og6
CIN PL0z Su} Ul Pays! Se
SdlH0 “S"f) seve] SU

 

ay} Jo Allo ayy pue Waly
ayy ye skauoye (314) pLoz Jequiecaq .
quayeainba euiy-yin4| ‘seusno¢ meq JeuoneN oo'oL Zs oo's2s$ _joo’segs bLzoL FW obeayo} — Mews 9 IAA HOWNEGIW pL 0z
Hoda: ose

CIN #LOZ 24} 4 paysi| se
BdIYO "S'f) ysebre] S,UUIy

 

34 40 Ayo OU} pue UY)
ayy ye shawoye (314) pLoz Jaquieseq :
quajeainbs oes ‘Teusnor Me7 JeUOReEN oo"o0e$ 00'0zz$ |oo'oze$ oo'ogs$ loo'‘osr$ —jan’se9$ 7433 fN ‘JeMaN ysiBuy 9 s9pe 99K |7 102
jodas 0g¢

CIN 7L0z Out Ul pays! se
aoWyo *S’f }sebie] Su
eu jo Ao eu) pue Wy
ayy ye skawoye (314) vLOz Jequieseq : vo
juajeainba out ‘jeuinor me] [Eugen o0Orz$ ooorg$ joo'sez$ eze ‘sajabuy soz} Said 8 Sdjoud ‘HeueWiPL0z
podel ase
PIN PLOz 8) Ul palsy se
salyo ‘S'f ysabve| s,uwuy
84} so Ayo ayy pue WY:
up ye sXawope (314) PLOZ Jaquiaseg CNL
juajeninbe ouriina ‘yeusnor Mey |euoleN oo'osrs o0'00E$ |oo"osas oo'sez$- —_ ag'009$._loo'oses. 197 ‘pugjesoy Ja]pueg Ujs}suaMmoT|p10Z
yodel age : ;
MIN PLO Ou} Ul pals! se
BoiYo "S*f Jabs] sway :
BUT JO Alo aty pue Wy , vo
ayy ye sAausoye (314) LOZ Joquaseg . . ‘oosiouel.4
quajeanbe ourina ‘yeunor me jeuoyeN ao"06zs 00'Sp7$ l00°Ozr$ oo’oss$ co'sées _|on'sto$ Zool ues uosjepuay JN 7 LOZ
poder ose
PIN 7407 Buy Ul paisl| se
Soo ‘s'fn yee] s,wusy
yy Jo Ayo ayy pure Wy
ayy ye sfeusoye (314) PLO Jequieseq . oo :
quayeainbe sarin ‘jewnor meq jeuoneN co's9e$ 00°S22$ jO0'OLr$ _—sjoo'oza$ co'ogr$ —_ [00009 BL ‘syodeauuly wnuuag 9 3sINbpUry }p1.0Z
podal os :
IN PLOZ Ou} UI paysi se
Bo4jo "SN ysaBse} s,Way . : . 4 .
ay} 40 Alo aly pue uy : i
aypye shausoye (314) vlog faquiaseq
juajeainbe ewly-{in4] ‘{ewnor Mey] jeuoyen, a0'00r$ 00°s0z$ joo"szgs oo'soss loo'oses$ — joosa9$ zz Zv ‘MusoUd| . 4aquebyjoy B20y SIMOT! p10

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
woo'We MAA : SL

“paniosal SUG Illy “O71 ‘safedod wIpaw WIV PLOz 3UBUAdOD
L09S-022-889

 

yoda: ose

PIN LOZ ou) uf patsy se
B20 “S"h jsabuey sway
BY} Jo Allo oy} pue uty!
uy ie sheusoye (314)
juajeainba euly-jin4

PLOg Jaquissag| ”

‘jeuinop meq jeuoNeN

o0'06Es.

oo'sess

100'0z9$

oo oers

00°soZ$

E9eh

Vd
‘eudjapeld

vlog .

 

yodal age

PIN PL0z 24} Ul pajsi| se
ado “S'f) sabe] sun
uy} 40 Ayo eu) pue, way
ayy ye shauroye (314)
jugeainba awn

poz Joquiaoaq
‘jeunor meq jeuoKeN

oo-0sz$

o0'oze$

0's L$

ao‘oers

00'06r$

oo'sLes

00"028$

ble

ON
‘ayoueyo

sniyoog 9 Sima] ‘UebloyW

vlog

 

yoda: Og¢

CIN 102 up Ul palsy se
BOUYJO “S"fy \SaHUE] Suu!
24} JO Ayo eyy pue Wuy!
eyj ye SXowoye (314)
quayeainba swy-\Ing

plo Jaquissaq
‘yeunor meq {EUOHEN

o0"s69$

oo'sec$

O0'6 LPs

o0'06c$

oo'oez$

o0°szr$

00'S

Oo'ores

00°0r2$

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@Bpliqysoys 9 SOL

¥L0z

 

podai oss

TIN PL0z uj Ut paysy se
BOWsJo *S'f jsebuel Susy.
BY} §0 AiO OUy PUE WEY,
au) ye skewoye (314)
yugyeainba au-"n4

loz Jequiesaq
‘}ewinor meq peuoney

oo'eses

oo'00zs

oo'sap$

oo'Ssrys

oo'sezs

0o"0S9$

68b

iA
‘2anemll

youpayly 9g 3seq ‘SUSI

¥LOe

 

poder oce

PIN #102 2y) ul pajst se
SOO “S'7) woBey S,WUy
ayy 30 Ayo uy pue WY
ayy je shouope (314)
quajeainba awhy-|n4

PLO Jaquissaq
‘Teusnor meq jeuonen

oo's6es

oo'sze$

oo'szr$

oo‘oEss

00'o8rs

00'0S9$

Sb

vo ‘eweny

aBpupyy 9 5uo7 euueyow

LOZ

 

yoda: ase

PIN PLO? 843 Ul pays se
Sao “S"7) yseGe] s,uNY
By} Jo Ajo ayy pue Wy
ayy ye skawoye (3,14)
jueyeainbds wi} ing

LOZ aquieseg
‘leuinop meq feuonen

ao‘oses

co'sez$

oo'szg$

Oo's6s$

a0'osr$

00'se2Z$

Le6

YA

SPOOMAINDW

bloc

 

 

yoda oge

CIN PLO? 24) Uy pajst se
adyJo *S*fA sefie] sw}
2u} Jo Ayo ayy pue uy:
au; ye shawone (314)
juajeainbe awi-1N-]

 

vL0e Joquisssq
‘jewnor Mey jeuoleEN

 

 

 

 

oo's6z$

 

oo'o0z$

 

oa'sees

 

00'srbs

 

oo'szes

{00°09s$

 

 

 

rN
“UMO]SIOLY

 

Jajuadie9 9 Aoueainw
‘yosjnag ‘Aoujqow

loz

 

 

 
Wos"wHe' aA : : : ob : : : -poalosal SiYBU py “O71 ‘saliedosd e1peW WI PLOz WUGUAdOD
- Ly9S-02/-888

 

yoda: oe!
TIN 7LO2 243 Ut paysi| se
Bolo ‘g'f) jsabue] Sway
SY} JO AYO BU} PUR LY
eur ye sXawope (3.15) vlog Jequieoeq : : , , vo
juajeainba ores ‘jeusnor me7 feuonen00'osss 00'OrrsS 00'S6rs. Q0'OrEs 00'ssz$ |00'06r$ o06Zg$ ao'oze$ —_ loo-008$ svt ‘sajabuy 807 UBWIESSON |7107
podai ose : .
CIN P02 uy UL paysi| se
Boyjo "Sf sabre] S,uuy|
ayy 40 Ayo ayy pule WY!
au ye sXawoye (314) PLOZ Jequiaceq
quayeainbe Surin yewnor me jeuoneN 0'00rs oo'oos$ioo’siss$ §—jon’szz$ oo'szs$ jooooes —sizese Xp ‘uoysnoy}. ——_-JUGuqina asoy UOPON! 710g
yodal ose .
CIN PLOZ 24) Uy paysi| se
Soe “S'f) IeHue| SLU
ay} yo AD Syy-pue LUIY, :
ayy ye sXausoye (314) pLoz Jaquaceq : tN snoJew
‘yeunor me] jeUOTEN, o0'sze$ 00'S8b$ ;00°S9es Oo'Ss6r$ ooser$ —_ loo'sos$ ez ‘Jeyemeabpuig| 9g unYGNe-]9N SON |yL0Z

 

 

 

 

CIN PLOZ @u) U! palsi| se
ayo “g°f ysaGuey s,uuy
By) JO Ayo ayy PUB WY
ayy ye skawoye (314) vhog Jequiacsq |, : .
queyeainbe oar ‘yewnor me" feuoyeN oo'o0es 00°08 1$ jo0‘oss$ ‘o0'0zs$ oo'sez$_—_ |aooses 9g VI ‘uoysog Apoqead UOXIN |P10z
yoda ose : :
(IN 7L0z 24} UI pajsit se
aoyyjo “Sf saBue| S,wul)
ay jo Ayo Ou pue WY : : :
uy ye skawoye (314) vlog Jaquiasaq . . : os
juajeainbs auy-in4| ‘jewnor me] jeuoyen|oo'009$ oo's6L$ oo'ozes 00'L22$ 00'S4z$ jo0'Ss6e$ 00'rhrs loo'oszs —_ jooo0e$ 99% *eiquintog SUIJINIA UOSION |p LOZ

 

 

podai og¢ .

PIN PLOe au Ul pa}sy se
ado “Sf sehue] Susy
AY} JO Ayo auy pule LY , : vo
ayy ye shawoye (314) Ph0Z Joquisceg , ‘oosjoues4 oe
quajeainbe sree ‘[euinor me] jeuclen : oo'szs$ O0'0Sz7$ jo0'Ssez$ oo's9es oo'sés$ §—|COSEL LS OZOL ues JBjISIGOJ YF UOSIIOW i pLOZ
yodai OSE

PIN #102 84) Ul palsy] Se
Soyo ‘S'f see] s,wwy
24} 40 Ayo ey) PUB LU
auy ye sAauoye (314) pLoz Joquiecsq
juajeainbe suij-in4} ‘feusnor me" jeuonen oo‘ogrs oo'oor$ _joo’szg$ srt “yo ‘ejueny] ule 9 Bujuuen ‘sow|p107

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
Woo" Le AM

2v9S-042-888

ab

‘paniasas Swy6y ftv "DTT ‘setuadold eIpaN WI pL0z wGuAdoD

 

yoda ase

MIN PLOZ 94} U! pays! se
aalyo “g'f sable] s,uuy
ayy 40 Ayo ay pue wy
ayy ye sKawoye (514)
yuagjeainbe suing

Plog Jaquiacsq
‘jeuinor Me] [euOneN

oo'ez9$

00°S6S$

oo'sez$

00'OrOL$

00°092$

QO'OZL LS

vse

AN
So, MON

uos[es 9 UOLeYA,
‘pupyny ‘ssiena ‘ned

707

 

podal ose

TIN 7L0z 84) Ul paysly se
a@dIyo “S'7 Jsabuey sway
Quy Jo ANS ol} pue WU
ayy ye skawoye (S15)
quajeainba euiy-}in.4

PpLoz Jequissag
‘yewnor Mme] jeuogeN

0o'orss

oo'sees

00'ss2$

00's -8$

00°0SZ$

00°006$

688

AN
So, MON

s6uysep [ned

vLoz

 

podel oge

CIN 7102 84} Ul paysi| se
aaiyo 'S°7) yale] Suu
yp jo Ao oy) pue Way
ayy ye skauioye (314)
juajeainba auul}-|in4

vL0Z Jaquiasaq
‘heunor me yeuoen

oo'oSsr$

co'ser$

co'oos$

Seb

ON
‘ayjoweys

upsysuag
9 SUIePY 30g Jayled

vLO7

 

podal 0S¢

PIN bL0z Ou} ul pa}si| se
solo ‘S'r ysaBuey Sut
ey Jo Ayo ayy pue WL}
ayy ye skausope (314)
jugyeainbs euying

vLOg Jaquisaagq
Yeuinor me] [eUOeN

co'ose$

oo's99$

oo'seZs

co'ogs$

00'OL2$

oo'sze$

oo's¢as

00'SLZ$

Q0°S601$

vS6

AN
‘10, MON,

SHH93NS
9g UOJBULISH YOO

ylLoc

 

pode ase

PIN LOZ OU} Ul palsy se
BdIYO “S'n Jsabue} s,wuy
ayy jo Ayo au pue Wy
ayy ye shauoye (314)
jyugjeainba awiy-tn-4

vb0z Jequisosg
‘jewinor me" yeuoneN

oo'sbZ$

00°SL9$

loo"os6$.

bed

vo
‘sajeBuy so7

siafy 9 Auaalsy,O

¥bOe

 

yoda: age

PIN #402 24} Ul palsi se
Bayo “S"f7 ysebuel sway!
By Jo Ayo ayy pue Way
ayy ye shousopye (314)
jugeainbs sun-[in4

“pLog saquieseq
‘yeuunor Mer] feudiyeN

oo'sss$

o0oezs

oo'sLes

o0'09zs

00'00zs

oo’sge$

oo'oges

oo"0sz$

00°Gs9$

899

Vo ‘ewueny

-suiyeag aayaic

FLOZ

 

 

Hoda OSE

PIN PF02 at} Ul pejsy se
BIO “Sf sable} swy
_ 84} Jo Ayo Sys pue Wy
ayi ye shewone (314)
quajeainba awiy{n4

 

Oz Jequisoaq
‘Teunor Ave"] |BuOTEN

 

 

 

oo's2e$

 

oo's6z$

 

Go'oar$

 

00'S2g$

 

O0'02b$

 

 

oo'sL2$

OPL

 

 

VIN ‘uo}sog

 

YSiy 9 USUUa/D9W JeyN

 

PLO

 

 
Wod'ly]e"AAAM

Lp9S-022-998

ab

‘paniesal SIQBU [Wy “O71 ‘saniedoud eipow WI PLO T4BLAdO

 

podai ose

PIN $102 ou} Ut paysi| se
aayo “S'7 ysasuey sw!
Buy JO Ajo oy} pure UY
oy} ye sKouoye (314)
uajeainbs auiy-|in4

¥LOz Jaquisssq
euunor Me] FeuoeN

00'0 Los

ooozes

|ceo'Ssz9$

00'SL6$

OO"OLE$

00°'SZ01$

eLg

AN

ueayins
°9 WeYyNbin januews UUIND

vlog

 

pode: ose
PAN PLZ 24} Ul palsy se

Bayo “Sf Jse6se] S,UUY)

aut jo Ayo ayy pue UNI
ayy ye shausoye (31 4)
juayeainbe aw)-ing

$102 Jaquieseq
‘yeunor Me] [BUOHEN

oo'see$

oo'oL2s

a0"009$

00'6LS$

oo’ szrs

czy

‘UO, MON

IMA
‘aaynemllN

Apesg 9 SajsenD

blog

 

yodas ose

PIN PLO Su} Ul paysy se
dO “Sf Jsabue] s,wuy
ayy jo Ayo ayy pue Uy
ayy ye sXewoye (314)
quayeainbo owing

voz Jaquiaceq
‘fewnor meq jeuoyen

Oo's9r$

oo's6z$

oo's29$

oo'ose$s

oo'seZ$

co"szo$

ag'oses

Zhe

AN
‘lo, MON

@S0y Janeysold

102

 

nodes ge

PIN 102 O4y Ul paysy se
SdIyo “S'f JsaBse] Sw:
Sy} JO AYO ay) pue WUY:
ayy ye showoye (3.4)
juajeninba sulin

ploz Jaquiaceq
‘jeuinoe me jeucHeN

oo‘osrs

oo'o0e$

oozes

00'622$

oo'sezs

joooses

oo'sers

oo'sze$

OO'SZZ$

919

ow
‘AID sesuey

MPOUIS{Od

vor

 

podal ose

FTN PLOZ 24} Ul Pays] se
BOLO *S"t) sabe] s,Wy
euy jo Ayo ayy pue Wy
ay} ye sAausone (344)
quayeainbs aupyin4

Plog sequiasag
{eusnor mer] jeuojeN

oo'oes$

oo’sze$

oo'0g8s

oo'sses

00°SL9$

O0°0Z04$

16S

od
‘uo}Bulyseaa

UBL
meys dosuyuian Aingsiiid

vL0z

 

. yoder og¢
PIN #102 84} Ul pays! se
Salo “S'f) ysabie; sway
4) Jo Ajlo ayy pue Wy!
ayy ye sAausoye (314)
quayeainbs ouun-in-{

PLOZ Jequissagq
‘yeuinop Mey [euoHeN

oo'aoe$

00'08z$

ao'seos

oo'szrs

oo'sLzs

O0'OL9$

00'SL9$.

od'oces

00°0001-$

$98

VM ‘onees

a109 sunued

¥LOe

 

 

wodal ose

CIN PLO? 343 Ul Pays se
aoujo “Sf safe) sway
Sy} JO Alo oy} pue Uy
ayy ye skawoye (314)
quajeainba euiy-(jn4

 

F102 saquieseq
‘Jewnor meq jeuoneN

 

 

 

 

oo'o6es

 

00'087$

 

go'ses$

 

joo'spos

 

oo'sors

 

oo'oses$

 

 

vd
‘etydjepeiyd

 

uo}JwepH Jaddeg

 

loc

 

 
MOTE AM . 8 : ‘panrasau syyBu fy “O71 ‘seniedoud elpew Wy P10z YBBAdOD
2795-022-888

 

pods. ose
CIN PLO? SU} Ul paysy se
SdIYO “S*/) sabe] suwuy

 

ayy Jo Ayo ay} pue wy
ayy ye showoye (214) pLOZ Jaquiaoaq :
jugjeainbe swiy-in4; ‘euunor me] [euO}EN oo'eees 00°0SZ$ 100'SL bs 2be J oBea1y9 urpaeH gtyoS|pL0z
pode ose .

CON PLOZ 84} Ul Paysl| se
Bajo “S"7) soGue] Suu

 

34} 40 Alo ey) pue Uy
eauy ye sAawoye (444) pLoz Jequiaceq Vd
yugyeainbs suy-yng} ‘yeunor meq jeuoyen Oo' Pres l00"S%z$ joo'o6Ss o0'9rss oo'szes — joo’szes Ove ‘eidjapetug Bug inesjp loz
pode! ose

TON PLO? Sy} Uy pays! se
BAYO “S'7 sabe] sw

 

ay} 30 Ayo sy} pue Way
ayy ye sfowone (314) vL0z Jequisseq : : vo
quayeainbe awn] ‘yeuinor Mey [EvOREN oo'ozes oo'0ez$joo’oos$ coos rs ao'sves —_ |oosz9$ LvL ‘esoy BISOD soyon yg UeINY| yLOZ
yodel age

CIN PLOZ 84} Ul Posi se :
Soo *S"f ysaGie] SUL

 

Sy} Jo Ayo ayy pue UY :
aupye skeurope (3.4) Plog Jaquiasaq
“qejeainbe auy-na} ‘jeuinor mey feuoyeN 00°00s$ 00°SLZ$ |o0'Sbr$ oo'0as$ oo'sées —_ j00'00z$ Loz LO ‘paoyieH ajon »g uosuIgoy|p Loz
yoda ose .

CIN PLO? 24} Ul pajsi| se
SAlYo “S'/f sebie] Stuy
aun Jo Ayo uy pue Wy .
ayy ye shausoye (314) Plog Jequesag : tN IMaued gy puelAy
quajeainba saree ‘jeuinor me7] feUOTEN, oo'0sz$ 00°OLz$ j00'Sé6z$ 00'ssr$ Qo'osrs$ = foo'sars o7b ‘UMO}SUOW assayog Bizueq 4941 | pLOZ
Hodes OS€ .
CIN ¥LOZ 94} U! pajsi se .
aolYO S$‘ Jsabie| sw
Oy) Jo Ayo ayy pue wily
autre shauoye (414) LOZ Jaquisseg : :
qugjeainbe suing} ‘jewnor meq [BUCITEN 00'r/b$ 00°0Se$ joo'sor$
yodai age
CIN PLZ 84} UI! pajsy se
BdIYJo “gf jsabse] swsy
BY JO Ayo eu} pue WY, _
aut ie sfausoye (414) vL0z Jaquiaaag ‘ “Wd
-ugjeainba ewying} ‘eusnor meq (euoyeN! : Qo'ozrs a0's6z$ jo0'0Es$ O0'2E2$ foo’sog$ —_ |oa'g6es SSSt ‘yBingsnid Uilus psdy 7.07

 

. ad
00°e29$ oo'ooes — oo'ones vz ‘uojBuriaa) seBuly g uojAeT ‘spseyory pL og

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
WOSTIE A

299-022-888

az

*pedresal syYGu py ‘977 ‘selvadoud espay Wy pLOz 3yBuAdoD

 

podal age

CIN 7LO0% 9U) Ul paysy se
BOO *S"F) yS@HJe] SUL.
ey} 40 Ayo ayy pue uty!
uy ye sAawoye (314)
jugjeainbs ouy-||n4

¥L02 Jequisssq

oo'oegs

oo'ares

co'sres

co'sres

OO'OSL LS

POSE

AN
‘y10) MON

wos 19 soyieowy
‘ayelg ‘sdiy ‘uappexXs

PLOz

 

yoda 0g¢

CIN PLO? 94} Ul Payst SB
Boo “S°f) saber sw
24) JO Ayo ey} pue Wy
ayj ye sAeusoye (314)
juayeainba ew {n4

‘jewnop mez jBuoReN

FLO? Jaquiacaq
‘jeuinop me] (BUONEN

a0oge$

00°s61$

00'SvES

co'seors

oog'oers

oo'ase$

oo'099$

OES

72 eI

uamog 8 SHNYS

7L0e

 

pode ace

PIN v4.02 Ou} Ui palsy SE
ado "S'7 Jsebe] s,uuy
SY JO AD yy pue WU
ayy ye skowoye (314)
Juajeainbo olw-In{

PLO Jeqiusceq)

‘euinop me" |BuOWeEN

oo'eses

00°0SL$

ooraces

OOS Lys

oo's0es

oo's6s$

bee

HO ‘Opalo.

youpuay 9g doo] Jayeunyg

vLO7

 

yodai og¢
FIN PLOZ 24} Ul pajsi| se

aaiyo ‘S'fy jseBue| sway!

By} Jo AYO ayy pul Luly
ayy ye skowoye (414)
jugjeainbe atwy-In

vLOe Jaquiasaq
‘eusnor meq (euCHEN

00'S LPs

oo'szz$

joo'segs

Oo'ga9$

co-o6es

jon'gzes

6eS

vO
‘sojaBuy so7

uo}dwey
9 29]U9rY UITINW paeddays

yLOe

 

yodai ose

PIN LOZ 94} Ul pajsi] se
Bayo "S*f ysaGsey sway,
SU} JO AYO SU] pue WY
ayy ye shawoye (314)
yugjeainbe euy-yjnd

vL0z Jaquiaceg
‘jewnor me] jeuonen

oo'soes

oo'szes

oo'sos$

0009S

00'S2E$

oo'098s

622

qW ‘obeaD

MeYS UYEIAES

yloe

 

yoda ace

PIN F102 84} ut paysy se
Salo *S'7) Jsabue] suuy
8yy Jo Ayo oy} pue Wily
ayy ye ‘sAauoye (3.4)
juajeainbea au}-{n4

yhOd Jequisseq
‘yeuunor Me jEUOREN

00'00r$

oo'asz$

00°009$

oo"sez$

00'Sz9$

ooose$

eri

AN}.

BOA MEN

jassiy 9 premeg

LO?

 

 

yoda ase

PIN vb0z ay} Ul peysy se
Boo “$f Jsobuey S,uuy
By} Jo Ayo aly pue wIIy)
ayy ye sAawoye (14)
yuayeanbe sun}-n4

 

Lz saquiaoeq
‘jewnop meq [euOyeN

 

 

 

 

oo'szes

 

oo'ase$

 

00'SzP$

 

o'szPs

 

oo'soe$

 

00'S +-9$

Zbe

 

 

“WO
‘oosiouel
ues

 

yoimBpag

vLoe

 

 

 
uve Wyse

2y9S-022-988

“poAlasas SIUGl [Ey ‘OTT ‘semiadoad eipaw WI FL02 WBUAdOD

 

yodal ase
TIN FLOZ 84} Ul! pays} se
BaIyO "S"7 sabe] s,uy

ayy Jo'Ayo ayy pue Wu!”

ayy ye shouoye (313)
yugyeainbds ouiy-|In4

¥L02 Jaquiesaqg
‘feusnor Me‘ }BuOHeN

o0'00e$

00'SZb$

00'022$

o0'OLz$

oo's9es

O0'Sers

00°062$.

00°069$

2be

aol 9 saBinqsesjs

vLO~

 

podal ase

(IN bLOZ 24) Ul pais! se
BANJO “S’f) JsoGHe] S,WUy
ay Jo Ayo ay) pue Wy
ayy ye shawoye (314)
quajeainba owi-|IN4

PLO? Jequisseg
‘jewnor Me] jeUCIFEN

00°069$

o0'oLs$

._joa'osz$

oozes

00'297$

oo'sozs

oo'sor$

og-ooe$

oo'o08$

S9E .

XL ‘seed

YO 'puenod

SPATY [2801S

¥LOz

 

yoda! ase

CIN #h02 Su} Ul pajsy se
SOO “Sf sabue] Ss,
84) jo Allo ayy pue wy
oup ye showoye (314)
jugjeainbs swy-04

LOZ Jequieoeq
‘jeusnor mez jeucnen

oo'cer$

oo'se9$.

00'S28$

co‘o0e8s

Vd ‘Buipeay

89*] 9 SUSAR]S

¥L0e

 

yoda: ose

CIN PLOZ OU) Ul pajst se
Bayo “g°7 sabre] sw
8} J0 Ajo au} pue Wy
By ye shawoye (314)

ybog Jaquissaq
‘jeuinop me7 jeuoyeN

go-ozs$

oo'oses

LS C8r$

Oo'gres

00°S92$

00°02%$

00°225$

00'OSbS

Go's6z$

Zeb

oa
‘uoyBurysen,

x04 2
UlaISPjOH ‘Ja]SSey ‘ausg}S.

POS

 

 

CIN 7LOZ SU} Ul Pays!
-SB B1Yo “S'7] js9HE}
$,WAy auy 40 AYO Oty

“pue Wy ayy ye sKauoye
(314) juajeainbs
SwIN “PLO? Ut
Je6sow o} anp ajqeiene
JOU eyep u0}2907

PL02 Jequaceg
‘euinor Me'y JEUOHeN

oosses

o0'0sz$

o0'oEss

a0'Ssso$

oo'oses.

00°0S6$

s6Bog uoyed ainbs

YbLOe

 

yodal ose

CIN PLOz Su} Ul pays} se
BOUsO "S°fN sabre] s,uUy
3uy Jo Ayo Oy; pue WH)
ayy ye sAawoye (314)
quajeainba awy-yIng

. bLOz sequuias9q
‘yeuunor Me} {BUEN

oo'oses

00°SLZ$

oo'08es

ILEL

AM
‘uo}seeyo

PLOz

 

 

Hodal OS¢

CIN PLOZ SUI UE pols] se
BOlyo 'S'f) sabre] s,uwy
au) Jo Ao ayy pue uy
ayy ye sAauope (314)
jugeainbs owy-n4

 

ybhOoz Jequisseq
‘yeuunor Ae] [(BUCKEN

 

 

 

 

oo"08z$

 

O0"Os LS

 

oo 'OZr$

 

oo"ses$

 

loo’sees

 

00'SP8$

 

Liv

 

 

Zv ‘xueoyd

aed ¢ sewoys uewids

 

ASUIIAA 9 [US

vlog

 

 
worrwje aver . zw mo, ‘paasasal SqyBL [hy “O77 ‘setedoud epaW WIV PLOZ JUSLAdOD
Lv9S-0L2-888 . .

 

yoda: oge

CIN PLOZ 94} Ul past se
BOIJ0 "S'f Jase] SUNY.
ay} jo Ayo ayy pure Luts]

 

ayy ye skauloye (314) vlog Jaquiassq IW ‘spidey
jugjeainbs ousy-jn4] ‘yewinor meq jeuogeNy oc'ose$ oo'06z$ = jaa'sors Seb pueisy WNWPRAIyLO?
yoda! ose

PIN 740% 84) Ul PS}st] Se
dO "Sf Jsebse] s,uNy

 

au so Alo ayy pue wy
ayy ye skewsope (314) vlog Jaquiesaq Wo
a cee oooges OO'SLE$ — [00'SL PS BL *‘puRjaAaio ausag 8 JeWIN|PLOZ
yoda ose :

PIN PLO? 84} Ul pajsy] se
ado *o'f jsabse] Suu

 

* ay} yo Ayo ayy pue Wy
oup ye sAeusope (314) yLOz Jaquisseq : |
_ uayeainbe aun) ‘yeunor meq peuoneN : . oo'oves 00'SPz$ 100'02S$ oo'ozo$ oo'oor$ jo0°S/6$ 29S vO ‘Bueny siapues UeUNOIL | YL0Z
poder ose

CIN PLOZ Su} Ul paysy] se .
BI1YO “S'f sabe} SUNY:

 

ayy yo Ayo ayy pue Luly . .
out ye sKeusoye (34) pLOz Jaquiasaq Ow
quayeainba ownyng!} ‘jewnor meq feuonen 00°022$ 00'0ez$ joa'ose$ Q0°OvrS oo'oees = 000 S$ 2bE ‘sino IS uinqog uosdwoyL|pL0z
podal gs¢ :

MIN #102 Su} Ul Psst se
Solo *g'f saBse] S,uuuLy

 

au) Jo Ajo ai pue Wy .
ayy ye skawone (314) vlog Jequiessq
Jusjeqinbe euyrin| ‘ewnop me |euoReN ovrozes oooresiovolss _jon'sess —fogsers loons _loez XL ‘seued quBjuy g uosdwous|pLaz
yoda ose )

PIN PLOZ 94} Ut pays se .
Soo °S°7 sabre] sun!
Ou} Jo AIO BU} pue UY

 

ayy ye shousoye (314) y10z Jaquieceq HO
juajeainba awi-in4} ‘yewnor meq (euoeN oo'sez$ ag'o0e$ |oo’szh$ ss f00'S Les co'see$ . jooses$ —s lage ‘WeUULOUID| —_JE;SIIIOH B SNIUNIAIS YELP LOZ
podal Os¢

CON PLO2 34) Uy pays] se
@a1yo “S'N jseGue| SU}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

By} jo Ayo uy pue Wy, :
ayy ye shawoye (314) Plog Jaquacaq . AN
"_Juajeainba awiying}  ‘Teusnor me] [BUEN |00'S60L$ O0'SP2$ 00°626$ O0'6rS$ a0'0S¢$ j0O‘Orss 00'096$ co'sz9$ — 0o’szLt$ —_lsez ‘JO, MaN| UBAE] g Y900I}5 8 4900115|4 1.07

 
+ WOOTEN : sz “penuasal SWyBL [Ny “OTT ‘satuedosd ipo WIV bLOz YBYAdOD
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Sd1IYO “S'n sable] suuy
ay) Jo Ayo yy pue Wy
ayy ye sKeuoye (314) blog saquiasaq . VA
juajeainba auuyin4{ ‘jeusnop Me" ;euOyeN oo's6z$ 00'09z$ joo'oses oo’sses oo'oges —_ |00"oLv$ eez ‘puowyory UdIININ SETA PL Oz
yodal age
TIN PLOZ ou; Ut pajsy se
Sd “S*f sabe] sway
ay} Jo Ayo ayy pue way .
ayy ye sKawoye (314) ” phog Jequiaceq : : oa
quepeainba auuy-lina} ‘peunor ae7] feuoyen 00'shr$ 00'oze$ joo'sess oo'sg9$ oo'oses$ —_joo‘oses 222 ‘uojbuiyseny, ujau AaM|pL0z
vodel ose
CIN PLO Bl} Uy pajsi se
solo “S°p jsaBbie] slay
84} 40 Ayo ayy pue WY
ayy ye shewoye (34) b$0z Jequieseq . AN
qugjeainbe oviriins ‘peulnor Mey jeuyeN oo'seas oo'ozz$ jo0'oGOL$ —_jag’sze¢ oo'oozs —oo'ogo1s seer YO, MON BSED 2 SWUM PLO
vode og °
PIN Loz ey} W! paysi| se .
AdIJO *"S"/A) sabe] S,Wwuy . ,
BY) Jo Ayo ayy pue Way : :
ayy ye skewope (314) PL0z Jequiasag . . AN
ywajeainba oun ‘jeunor meq feuoeN oo-go9$ 00°00E$ j00°062$ oo'oees oo'szo$ —[oo'szols — |zgtb Suo, men] —_ SoBuew °g 12Ys}om ‘NeM}pLoz
yoda: age .
PIN PLOZ 34} U! pajstt se
BONO “S'7 sabe; SLU
Byt JO Allo eu) pue Wy
ayy ye shauioye (414) loz Jaquiesaq . ’ sjaeg
‘yeusnor me jeuoleN oo'srzs 00°06 L$ loo'sees 00'09b$ oo'oses —_|oo'o09$ ZL NL ‘aiiaysen; 8 Y9HOG UapsuUeT Ja/EM}yL07

 

 

 

 

 

 

PIN PLOz ou U! palsi se
Soyo "S'n isabel s,uuy
Oy Jo Ayo uy pue WY,
ayy ye sKawoye (31+) plaz fequiasaq . oO .
___Jwajeanbe Suir _fewinop me] yeuoeN oo'o6e$ o0'szz$ joo'se9$ ——fan’oogs oo’sér$ joo'ozzs = fase =; St XL ‘uojsnoy __ SUPILA 8 UOSUIA pL OZ
yode ase] " "
PIN $102 24) Ul paisy se
Soyo “S*f sabe] s,w.)
ayy Jo Ayo ayy pue UY, . .
ay} ye skawone (3.14) ylOz sequiaceg , oa
Juateanbe euiy-in4} ‘lewino¢ meq feuoyen oo'oers oo'séz$joo'szs$ ——_oo‘agas ao'ozr$ —joo'szorg __ lees ‘uojBuiysenn aiqeuealpLoz

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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poder age
CIN pL0z eu} u palsy se
BIYO “S'7) sabef Suuy:

 

Bu yo Ayo ayy pue way
ayy ye sAouoye (314) vLoz Joquiaceg wo»
quajeainbs ewy-ying| ‘feuinor me] euoyeN O0'sL Ps eaoszs = jan'coss — ss izog ‘aillAsinoy SqUlog 9 JuBWeL HeAM IP L0Z
yodal gg¢e

CIN PLOZ Out ul pays] se
ad1YO *g'f] seBIE] SUL

 

aif Jo Ayo oyy pue Uy ,
aul ye sAowope (S14) bL0z Jequieseq ON ‘wales aly 8
juajeainbe ewip-ing} ‘yeuinor meq jeuoreN . 00'rSs$ oo'ozrs loo'ores _- |z6r uoysuipa! BBpypues afAlieg s1qwonaly oz
yoda: ose Y :

MIN 7-02 24} Ul paysy se
Soujo “g'f sabe; sway,

 

yt jo Ajo ayy pue Wy : : -
ayy ye skowoye (314) Plog Jequiaceq . . PN ‘aGuelc
quajeainbe suyp|n4| ‘jeuinor meq jeuoyen co‘ores 00°SZzs |oo'0S+$ 00'00rs Qo'sze$ —}00'0gr$ SZ + SOM UOSWES 8 JOM; 7102
podal ose : ; ” , ;

PIN-phOz oy} Ul pays!) se
Soo “Sf ISSHIE] SWI

 

yp $0 Allo ey} pue Wy, .
ay} ye shauoye (314) vloz sequiaseq . : . . :
quajeainbs auiy-iny| ‘yeusnor meq jeuoneN O0'0zs$ ss {00°SZhS |O0'O6SS oo‘ons$ Ooos9$ —00°S66$ 2ce A obeay9 UAARITS 8 UO}SUIAA 7.07
. Woda: OgE

PIN PEO Sy} Ul paysi) se
BOO “Sf sae} S,Ww.
ay} Jo Ayo ay) pue Wy

  

 

auy ye shauiope (4.4) loz sequsaceq . : oa 420q pue ajey |. .
quajeainbs awy-[n4] ‘Jeuinor meq [euoyeN O0‘06z$ OO'sz$ jo0's6e$ oo's06$ oosezs §=jooosz1$ 1886 ‘uoBuryseny BuyiaydId 49ND JeuUIM! pL 0z
poder ose :

PIN PLOz eu) U! pajsy se
BOO "Sf JsaBvEy SUL
ayy so Ayo oy} pue Wy
ayy ye skowoye (314) vL0z Jaquiesaq : : AN
juajeainbe suiyj-in4} ‘yeunor meq jevoyeN : : oo'ogss a0'oge$ [oo 062 oo'os6s Qo'064$ jooasol$ jaz HOAMEN] — JoYBEED g 4e4 SHUM pLOZ

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
